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VICK BEEN Office of the Commissioner
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New York, N.Y. 10038

nyc.gov/hpd

September 5, 2014

Ms. Michelle Aronowitz

Deputy General Counsel

Head Quarters

U.S. Department of Housing and Urban Development
451 7% Street, Southwest Room 10110

Washington, DC 20410

Mr. Bryan Greene

General Deputy Assistant Secretary, Office of Fair Housing and Equal Opportunity
Head Quarters

U.S. Department of Housing and Urban Development

451 7 Street, Southwest Room 6204

Washington, DC 20410

Ms. Jo-Ann Frey

New York Center Director, Office of Fair Housing and Equal Opportunity
U.S. Department of Housing and Urban Development

26 Federal Plaza- 35" Floor

New York, NY 10278

Dear Ms. Aronowitz, Mr. Greene, and Ms. Frey,

| am writing to follow up on our conversation about HUD's concerns about the fair housing implications of
New York City's use of community preferences in the lease-up of housing units we have financed.

As you know, New York City distributes the affordable apartments or homes for which it has provided
financing to support new construction or preservation through a lottery process. New York City is divided
into 59 community districts. Under the terms of our agreements with the developers, who actually
conduct the lease-up, residents of the community district in which the site is located receive a priority for
50% of the affordable units in the project. For projects receiving New York's main tax benefit for new
construction, this preference is written into state law (Rea! Property Tax Law §421a(6){d), 421a(7)(d)(ii).
and 421a(13)(d))), but generally the community district preference is a matter of tradition and political
practice.

You raised concems about the effect that the community district preference might have on New York
City’s obligations under the Fair Housing Act of 1968, and under the Affirmatively Furthering Fair Housing
regulations proposed in July 2013, and now pending final release. We have provided below some
context for the discussion, followed by an explanation of how we think we can address the issues most
appropriately.

I. New York City’s Racial and Ethnic Composition and Distribution

In general, New York City is racially and ethnically diverse. In 2012, the City's population was about 33
percent white, 23 percent black, 29 percent Hispanic, and 13 percent Asian. Accordingly, the Racial
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Diversity Index (RDI) which estimates the chance that two randomly chosen people from New York City
would be of different races,’ was 0.74 in 2012.2

Like the City as a whole, many of our neighborhoods are quite diverse. A recent report from New York
University’s Furman Center for Real Estate and Urban Policy noted:

",.. We classify neighborhoods based on their racial composition into four categories: single-
race majority or highly homogenous, homogenous, integrated, and minority-mixed. ... The share of
single-race majority neighborhoods (where the proportion of any particular racial group is greater than
80%) in New York City was the lowest of any of the five largest cities at 5.1 percent.

The share of homogenous neighborhoods (where the proportion of any racial group is greater
than 50% but lower than 90%) in New York City was 44.2 percent, similar to Los Angeles and
Houston. The sum of the share of integrated neighborhoads (those where the share of both whites
and at least one other racial group is greater than 20% and the share of minority-mixed
neighborhoods (where the share of whites does not exceed 20% and at least two minority groups
exceed 20%) accounts for 51 percent of New York City's neighborhoods. Thus, one of out of two
residents in New York City lives in an integrated or minority-mixed neighborhood. .. .”

Nevertheless, too many of our neighborhoods do not reflect the racial and ethnic diversity of the City and
remain homogenous. The de Blasio Administration has taken a strong stand that our housing policies will
seek to further diversity, as illustrated by this quote from the Housing New York plan released in May
2014:

“Things must change

... Further, the affordable housing crisis is exacerbated by (and compounds) inequality. In some
of the City’s neighborhoods, median household income is as high as $122,222, while in others, the
median household income is only $21,562. Often, both the highest income and the lowest income
neighborhoods have little income diversity, while others are racially homogenous. Indeed, nearly half
of the city’s neighborhoods remain dominated by a single racial or ethnic group. The inequality and
lack of diversity in many neighborhoods means that some families do not have access to the
education, jobs, and other opportunities others enjoy. It also means that low income households
often are unable to find homes in the neighborhood in which they would like to live.

... We must do more to ensure that all New Yorkers have a safe and affordable place to live, in
neighborhoods that provide opportunities to succeed. ...*

li. Avoiding Fair Housing Concerns in implementing Community District Preferences

 

' We calculate the Racial Diversity Index (RDI) according to the following formula: RDI = | — (P* Asian + P?
black + P?Hispanic + P?white). We use the categories of Asian (non-Hispanic), black (non-Hispanic), Hispanic, and
white (non-Hispanic) but exclude people identifying as some other race or reporting more than one race from this
calculation. Nonetheless, the four groups included accounted for 97.3 percent of New York City’s population in
2012.

2 Sce State of New York City’s Housing and Neighborhoods in 2013 {Furman Center for Real Estate and Urban
Policy: 2014).
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Community district preferences can be a very powerful tool in the City's efforts to affirmatively further fair
housing. Many communities resist the siting of affordable or supportive housing within their
neighborhoods, fearing that the greater density the housing brings will tax schools, transit, public safety
and other vital neighborhood infrastructure and services. Those fears often are allayed when the
communities are assured that the housing will provide benefits, in part, to neighborhood residents.
Because so many of New York City’s neighborhoods are threatened with rapidly increasing rents, the
promise that new affordable housing will help existing residents of the community remain in the
neighborhood is a powerful counter to many of the legitimate concerns that neighborhoods have about
the changes that investment in new housing in the neighborhood may bring.

Critics of the community district preference system have expressed concem, however, that in some
instances, the preferences might “lock in” the existing racial or ethnic majarity in a neighborhood, and
might make it more difficult for racial or ethnic groups not already represented in a community to move
into the neighborhood.

To address those concems, we have analyzed a variety of ways in which we might modify the community
district preference to avoid any implication that the preference runs counter to our goal of “build{ing] a
just, equitable, inclusive and prosperous city.“

A. Measuring the diversity of community districts

Traditionally, measures of segregation have focused on the dissimilarity index, which represents “a
summary measure of the extent to which the distribution of any two groups (frequently racial or ethic
groups) differs across census tracts or block-groups.“ As noted above, however, New York City is made
up of four major racial and ethnic groups, which complicates the analysis considerably. Researchers in
New York accordingly have used the RDI to address that feature of New York City’s neighborhoods, and
to provide a neighborhood-level measure, rather than a measure that simply averages indices for
individual census tracts or census blocks.

As noted above, the RDI measures the chance that any two residents of a specified geography will be of
different races or ethnicities. New York City's RDI in 2012 was .74; the RDIs of individual community
districts ranged from a low of .21 (BK 17: Flatbush, Brooklyn) to a high of .64 (QN 10: South Ozone Park
and Howard Beach, Queens). The RDIs for ail 59 community districts are arrayed in Appendix A. In
brief, the groupings fall as follows:

 

 

RDI Number of Community
Districts (cumulative)

<.030 2

<0.4 4

<0.45 8

<0.5 17

<0.55 27

<0.60 37

<0.65 44

 

) Housing New York, at p. 27.
+ AFFH Data Documentation, June 2013 draft, at 2 (available at http://www. huduser.org/portal/publications/pdf/FR-
5173-P-01_AFFH_data_documentation.pdf)
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<0.70 52
<0.85 59

 

Logically, then, while we had talked about adjusting the preference for the ten least diverse community
districts, it would make sense to depart from the usual community district preference rules either for the 4
CBs falling below 0.4, or for the 8 falling below 0.45.

B. Adjusting the community preference in less diverse community districts

There are several different approaches that could be used to adjust the community preferences for those
community districts for which the preference might raise fair housing concerns. To disallow any
community preference could be counter-productive, because the opposition to additional housing in the
area, without any promise of local benefits, could make siting extraordinarily difficult. Further, in many of
the areas, the threat of displacement from gentrification spurred in part by public investments in housing,
if not accompanied by programs to allow existing residents to stay in the neighborhood, will itself raise fair
housing concems.

The preference could be lowered, however, say to 25 percent, rather than 50 percent. The percentage
“taken away’ from a less diverse community district could then be distributed either to contiguous
community districts, to community districts whose boundaries fall within a fixed radius from the site (¢.g.,
% mile) to the borough as a whole, or to the city as a whole. Or, the 50 percent preference normally
given to the community district could be shared among contiguous community districts, community
districts within a fixed radius of the site, or by the entire borough. Each of those systems poses different
administrative challenges.

iN, Next Steps

We would appreciate an opportunity to discuss whether this approach -- modifying the normal 50 percent
community district preference for those community districts that fall under some threshold (such as 0.45),
and distributing that preference instead to a wider group of community districts would address your
concerns. | will call your office in the next few days to schedule a meeting.

We appreciate your willingness to work with us to find a way to avoid any implication that the community
district preference that is so vital to our efforts to provide affordable housing might undermine our mutual
goal of ensuring that all our efforts affirmatively further fair housing.

Sincerely,

Vicki Been
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ACS DEMOGRAPHIC AND HOUSING ESTIMATES
New York City Community Boards
2003-2012 American Community Survey 5-Year Estimates

 
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ACS DEMOGRAPHIC AND HOUSING ESTIMATES
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ACS DEMOGRAPHIC AND HOUSING ESTIMATES
New York Clty Community Boards (Serted by Racial Diversity Index)
2008-2012 American Community Survey 5-Year Estimates

 
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